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No. 04-09-00071-CR



Kurtis Eugene RUPERT,


Appellant



v.



The STATE of Texas,


Appellee



From the County Court at Law, No. 7, Bexar County, Texas


Trial Court No. 256962


Honorable Dick Alcala, Judge Presiding



PER CURIAM


Sitting:	Karen Angelini, Justice

		Sandee Bryan Marion, Justice

		Phylis J. Speedlin, Justice


Delivered and Filed:	May 13, 2009


DISMISSED

	Pursuant to a plea-bargain agreement, Kurtis Eugene Rupert pled nolo contendere to the
offense of assault with bodily injury and was sentenced to eleven months, ten days in the Bexar
County Adult Detention Center in accordance with the terms of his plea-bargain agreement. On
December 19, 2008, the trial court signed a certification of defendant's right to appeal stating that
this "is a plea-bargain case, and the defendant has NO right of appeal." See Tex. R. App. P.
25.2(a)(2). After Kurtis Eugene Rupert filed a notice of appeal, the trial court clerk sent copies of
the certification and notice of appeal to this court. See id. 25.2(e). The clerk's record, which includes
the trial court's Rule 25.2(a)(2) certification, has been filed. See id. 25.2(d). 

	"In a plea bargain case ... a defendant may appeal only: (A) those matters that were raised by
written motion filed and ruled on before trial, or (B) after getting the trial court's permission to
appeal." Id. 25.2(a)(2). The clerk's record establishes the punishment assessed by the court does not
exceed the punishment recommended by the prosecutor and agreed to by the defendant. See id. The
clerk's record does not include a written motion filed and ruled upon before trial; nor does it indicate
that the trial court gave Kurtis Eugene Rupert permission to appeal. See id. The trial court's
certification, therefore, appears to accurately reflect that this is a plea-bargain case and that Kurtis
Eugene Rupert does not have a right to appeal. We must dismiss an appeal "if a certification that
shows the defendant has the right of appeal has not been made part of the record." Id. 25.2(d). 

	We, therefore, warned Kurtis Eugene Rupert that this appeal would be dismissed pursuant
to Texas Rule of Appellate Procedure 25.2(d), unless an amended trial court certification showing
that Kurtis Eugene Rupert had the right to appeal was made part of the appellate record. See Tex.
R. App. P. 25.2(d), 37.1; Daniels v. State, 110 S.W.3d 174 (Tex. App.--San Antonio 2003, order).
No such amended trial court certification has been filed. This appeal is, therefore, dismissed pursuant
to Rule 25.2(d).   

							PER CURIAM


DO NOT PUBLISH


